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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN

FORD MOTOR COMPANY,
                                                  Case No. 17-13876
            Plaintiff(s),                         Honorable Arthur J. Tarnow
v.                                                Senior U. S. District Judge

JOHN CENA,

           Defendant(s).
___________________________________/

                                  SCHEDULING ORDER

     IMPORTANT: You will receive no further notice of these dates, however they
     are available on CM/ECF through PACER.

                                           ORDER RE:
            1.   Scheduling discovery;
            2.   Setting date for filing of final pretrial order;
            3.   Setting date of final pretrial conference;
            4.   Setting tentative trial term;
            5.   Providing for content of final pretrial order and describing materials to
                 be prepared and to be made available to the Court and counsel.

1.   Jury             Non-Jury      X       Estimated length of trial: 5 days        .
2.   Names of all Witnesses, lay and expert, MUST BE EXCHANGED BY: 6/1/2018                  .
3.   All Discovery must be completed by: 12/7/2018                 .
     This Court will order no discovery to take place after that date. ALL DISCOVERY
     MOTIONS must be filed by:          11/7/2018       .
4.   Dispositive Motion filing cut-off date:     1/7/2019         .
5.   Case Evaluation: Yes                 No        X
     Case Evaluation Order to be entered:            N/A                                 .
6.   Date and time for Final Pretrial/Settlement Conference: 4/10/2019 at 2:30 p.m.
     Trial counsel and all persons necessary to make a final decision as to the terms of
     settlement must be present at this settlement conference (clients).

7.   Final Pretrial Order to be submitted to the Court by:       4/3/2019                .
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Scheduling Order continued


8. On the morning of trial, all counsel shall furnish the following:
      a.    A trial brief.

       b.     A list of all exhibits marked consecutively, as well as copies of all exhibits (to
              the extent possible) for use on the bench. All exhibits will be received prior to
              trial, except those where an objection is noted. With reference to those
              exhibits, they will be received during trial at the proper time.

       c.     In jury cases, any requests for voir dire and proposed jury instructions (jury
              instructions shall be provided by hard copy and on disk in WordPerfect or
              Microsoft Word).

              In non-jury cases, Proposed Findings of Fact and Conclusions of Law shall be
              submitted at the beginning of trial.

9.     Other matters: _____________________________________________.

10.    IT IS ORDERED that counsel for plaintiff(s) assume the responsibility for
       convening a conference for all parties to collaborate in the formulation of a short,
       concise pretrial order that is to be drafted by counsel for plaintiff(s), approved and
       signed by counsel for all parties, and submitted to the Court for approval and
       adoption. The order should provide for the signature of the Court, which when
       signed, will become an Order of the Court.


11. Tentative Trial Term:             April - June 2019



       To view Judge Tarnow’s pretrial and trial practice, see www.mied.uscourts.gov




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                                 DISCOVERY PRACTICE


       It is expected all parties and all counsel to conduct discovery in a cooperative way,
consistent with FRCP 1: “To secure the just, speedy, and inexpensive determination of every
action.”

       Counsel are encouraged to communicate early, often and informally in dealing with
discovery problems. If they can’t resolve them, don’t hesitate to bring them to my attention.
While you can always file a motion, I’m also available to conduct an informal discovery
conference, either in person or by telephone. To arrange for such a conference, call Michael
Lang at (313) 234-5182.

        The questioning attorney at depositions is to be respectful of the witness, to confine
questions to subjects that are discoverable under FRCP 26(b) and to spend no more time than
is reasonable in questioning the witness. All attorneys are to be polite and professional.

       The lawyer defending a witness at a deposition should not impede the legitimate
interrogation of that witness. Since all objections, other than as to form or dealing with
privilege, are preserved for trial, I expect that objections will be few in number and will not
be “speaking objections;” i.e., those calculated to suggest an answer to the witness or impede
legitimate questions. See FRCP 30(d)(i) and 32(d)(3).

       If problems arise in a deposition and counsel need immediate guidance from the
Court, you may call me at (313) 234-5180, fax (313) 234-5492.

       Document requests and interrogatories should be reasonable in scope. Responses
should be complete and, in fact, responsive. If there are doubts as to definitions or scope,
they should be raised promptly with the requesting party.

        Documents withheld on the basis of privilege should be listed on a privilege log with
sufficient information to enable the requesting party to understand the nature of the
documents and the basis of the privilege claim.

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LR 16.2                     JOINT FINAL PRETRIAL ORDER

       The Proposed Pretrial Order shall follow strictly Local Rule 16.2 on Joint Pretrial
       Orders. Local Rule 16.2 provides as follows:

(a)     Joint Final Pretrial Order. The parties shall furnish a joint final pretrial order in
every civil case at, or if the judge requires, before the final pretrial conference. This joint
final pretrial order shall fulfill the parties’ disclosure obligation under Fed.R.Civ.P.26(a)(3),
unless the Judge orders otherwise. All objections specified in Rule 26(a)(3) shall be made in
this order. Counsel for plaintiff(s) or a plaintiff without counsel shall convene a conference
for all parties to confer and collaborate in formulating a concise joint final pretrial order.
Counsel for plaintiff(s) or a plaintiff without counsel shall compile the order. Counsel for all
parties and any party without counsel shall approve and sign the order. Counsel for all
parties and any party without counsel shall submit an original and one copy of the order to
the assigned Judge for approval and adoption. The order shall provide for the signature of
the Court and, when signed and filed in the Clerk’s Office, becomes an order of the Court,
superseding the pleadings and governing the course of trial unless modified by further order.
The pretrial order shall not be a vehicle for adding claims or defenses. The order will not be
filed in the Clerk’s Office until the Judge has signed it.

(b)    Contents of Order. The Joint Final Pretrial Order shall contain, under numbered and
captioned headings, the following:

      (1)    Jurisdiction. The parties shall state the basis for Federal Court jurisdiction,
and whether jurisdiction is contested by any party.

       (2)     Plaintiffs’ Claims. The statement of the claim or claims of plaintiffs, shall
include legal theories.

       (3)      Defendants’ Claims. The statement of the claim or claims of defendants or
third parties, shall include legal theories.

       (4)    Stipulation of Facts. The parties shall state, in separately numbered
paragraphs, all uncontested facts.

       (5)    Issues of Fact to be litigated.

       (6)    Issues of Law to be litigated.




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       (7)    Evidence Problems Likely to Arise at Trial. Include objections to exhibits
and to the use of deposition testimony, including the objections required under
Fed.R.Civ.P.26(a)(3). The order shall list all motions in limine of which counsel or a party
without counsel should reasonably be aware.

        (8)   Witnesses. Each party shall list all witnesses whom that party will call and all
witnesses whom that party may call, including the approximate length of time each witness is
expected to testify. This listing shall include, but is not limited to, the disclosures required
under Fed.R.Civ.P.26(a)(3)(A) and (B). A party may, without further notice, call a witness
listed by another party as a “will call” witness. Except as permitted by the Court for good
cause, a party may not list a witness unless the witness was included on a witness list
submitted under a prior order or has been deposed. The list shall state whether the witness is
an expert and whether testimony will be offered by deposition. Only listed witnesses will be
permitted to testify at trial, except for rebuttal witnesses whose testimony could not be
reasonably anticipated before the trial, or except for good cause shown. The provisions of
Fed.R.Civ.P.37(c)(1) shall apply to a failure to list a witness.

        (9)    Exhibits. The parties shall number and list, with appropriate identification,
each exhibit, including summaries, as provided in Fed.R.Civ.P.26(a)(3)(C). Objections to
listed exhibits must be stated in the joint pretrial order. Only listed exhibits will be
considered for admission at trial, except for rebuttal exhibits which could not be reasonably
anticipated before trial, or except for good cause shown. The provisions of
Fed.R.Civ.P.37(c)(1) shall apply to a failure to list an exhibit.

     (10) Damages. The parties shall itemize all claimed damages and shall specify
damages that can be calculated from objective data. The parties shall stipulate to those
damages not in dispute.

       (11)   Trial.

              (A) Jury or non-jury.

              (B) Estimated length of trial.

        (12) Settlement. Counsel or a party without counsel shall state that they have
conferred and considered the possibility of settlement, giving the most recent place and date,
and state the current status of negotiations and any plans for further discussions. They may
state that they wish the Court to schedule a settlement conference.


(c)     Failure of Counsel to Cooperate. For failure to cooperate in preparing or submitting
the joint final pretrial order or failure to comply with the terms of the joint final pretrial
order, the Court may dismiss claims, enter default judgment, refuse to permit witnesses to


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testify or to admit exhibits, assess costs and expenses, including attorney fees, or impose
other appropriate sanctions.

(d)     Filing of Trial Briefs, Findings and Instructions. The Joint Final Pretrial Order
shall further provide that trial briefs, proposed findings of fact and conclusions of law in non-
jury cases or complete preliminary and final instructions in jury cases shall be filed on the
first day of trial. Any disputes concerning instructions will be decided on the day of trial.

(e)    Additional Requirements. A Judge, in an appropriate case, may add additional
requirements to the Joint Final Pretrial Order, or may suspend application of this Rule in
whole or in part.

(f)   Juror Costs Attributable to Parties. Each party shall acknowledge that the Court
may assess juror expenses under LR 38.2.

       Comment: Under LR 16.2(b)(9), any objection based on foundation or authenticity
       will be deemed waived if not raised before trial.



Dated: March 28, 2018                              s/Arthur J. Tarnow
Detroit, Michigan                                  ARTHUR J. TARNOW
                                                   UNITED STATES DISTRICT JUDGE




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